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UNITED STATES DISTRICT COURT nod
SOUTHERN DISTRICT OF NEW YORK

x
In the Matter of ~
Reassignment of Cases Previously M10-468 = > - a
Assigned to Judges Who Are No ~
Longer on the Bench by Reason > .
Of Retirement or Death
x
STANDING ORDER

The Assignment Committee is tasked with reassigning closed cases that were previously
assigned to judges who are no longer on the bench by reason of resignation, retirement or death
in which new judicial action is required. (Rule 17, Local Rules for the Division of Business
Among Judges). There is no discretion to exercise and nothing to evaluate in such instances;
reassignment is mandatory. Therefore, and to expedite the reassignment of such cases, it is
hereby:

ORDERED, that all requests for reassignment of closed cases that were previously
assigned to judges who are no longer on the bench by reason of resignation, retirement or death
shall be transmitted directly to the Clerk of Court, who will assign the cases in accordance with
Rule 17; and it is further

ORDERED, that Chief Judge shall periodically solicit from senior judges indications of
whether they will accept reassignment of cases that are covered by this Standing Order, and that
the Clerk of Court shall maintain a special wheel, consisting of all active District Judges and
such Senior District Judges as volunteer, for purposes of these reassignments.

This order extends to all closed cases, civil and criminal, that require judicial action for
any reason after the departure or death of a previously-assigned judge, including the
reassignment of probationers and supervised releasees who were subject to the supervision of
such previously-assigned judge.

Chief Judge

